                                                                  fllS) IN OPEN COURT
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                                                                     Peter A. Moore, Jr., Clerk
                 IN THE UNITED STATES DISTRICT COUR~~~c~!rnc
             FOR THE EASTERN DISTRICT OF NORTH CAROLINA
                          EASTERN DIVISION

                                NO. 4:23-CR-00035-lM

UNITED STATES OF AMERICA

             V.                                 CONSENT PRELIMINARY
                                                ORDER OF FORFEITURE
JAMES HATHCOCK

      WHEREAS, the above-named defendant has pleaded guilty pursuant to a

written plea agreement to Counts Eight and Nine of the Indictment, charging the

defendant with offenses in violation of 18 U.S.C. § 924(c)(l)(A)(i) and 21 U.S.C. §

841(a)(l);

      AND WHEREAS, the defendant consents to the terms of this Order and to the

forfeiture of the property that is the subject of this Order of Forfeiture; stipulates and

agrees that each firearm and ammunition was involved in or used in the offense(s) to

which he pleaded guilty, or was in the defendant's possession or immediate control at

the time of arrest, and is therefore subject to forfeiture pursuant to 18 U.S.C.

§ 924(d)(l) and/or 18 U.S.C. § 3665;

      AND WHEREAS, the defendant stipulates and agrees that the defendant

individually, or in combination with one or more co-defendants, has or had an

ownership, beneficial, possessory, or other legal interest in and/or exercised dominion

and control over each item of property that is subject to forfeiture herein;

      AND WHEREAS, the defendant knowingly and expressly agrees to waive the

requirements of Federal Rules of Criminal Procedure 1 l(b)(l)(J), 32.2(a), 32.2(b)(l),

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      Case 4:23-cr-00035-M-RN Document 64 Filed 04/25/24 Page 1 of 7
32.2(b)(4), and 43(a), including waiver of any defect respecting notice of the forfeiture

in the charging instrument or the plea colloquy; waiver of the right to a hearing to

present additional evidence respecting the forfeitability of any specific property or the

amount of any forfeiture money judgment; waiver of the right to be present during

any judicial proceeding respecting the forfeiture of the property that is the subject of

this Order of Forfeiture or to receive further notice of the same; waiver of any defect

respecting the announcement of the forfeiture at sentencing; and waiver of any defect

respecting the inclusion of the forfeiture in the Court's judgment;

      AND WHEREAS, the defendant knowingly and expressly agrees that the

provisions of this Consent Preliminary Order of Forfeiture are intended to, and shall,

survive the defendant's death, notwithstanding the abatement of any underlying

criminal conviction after the entry of this Order; and that the forfeitability of any

particular property identified herein shall be determined as if defendant had

survived, and that determination shall be binding upon defendant's heirs, successors

and assigns until the agreed forfeiture, including any agreed money judgment

amount, is collected in full;

       NOW, THEREFORE, based upon the Memorandum of Plea Agreement, the

stipulations of the parties, and all of the evidence of record in this case, the Court

FINDS as fact and CONCLUDES as a matter of law that there is a nexus between

each item of property listed below and the offense(s) to which the defendant has

pleaded guilty, and that the defendant (or any combination of defendants in this case)

has or had an interest in the property to be forfeited,


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      Case 4:23-cr-00035-M-RN Document 64 Filed 04/25/24 Page 2 of 7
      IT IS HEREBY ORDERED, ADJUDGED, AND DECREED that:

      1.     The following property is forfeited to the United States pursuant to Fed.

R. Crim. P. 32.2(b)(2) and 18 U.S.C. §§ 924(d) and 3665:

             Personal Property:

             a) One Hi Point, 45 caliber pistol bearing serial number X460560,

                seized on April 20, 2023, from 129 Nguyen Lane, Pollocksville, North

                Carolina;

             b) One Bersa Thunder, 380 caliber pistol bearing serial number J29502,

                seized on April 20, 2023, from 129 Nguyen Lane, Pollocksville, North

                Carolina; and

             c) One Taurus Model 62C, 9mm caliber pistol bearing serial number

                ACH134829, seized on April 24, 2023, from 310 Kennedy Drive, New

                Bern, North Carolina.

      2.     Pursuant to Fed. R. Crim. P. 32.2(b)(3) and 32.2(c)(l)(B), the United

States is authorized to conduct any discovery pursuant to the applicable Federal

Rules of Civil Procedure needed to identify, locate, or dispose of the above-referenced

property, or other substitute assets, including depositions, interrogatories, requests

for production of documents and for admission, and the issuance of subpoenas.

      3.     If and to the extent required by Fed. R. Crim. P. 32.2(b)(6), 21 U.S.C.

§ 853(n), and/or other applicable law, the United States shall provide notice of this

Order and of its intent to dispose of the specified real and/or personal property listed

above, by publishing and sending notice in the same manner as in civil forfeiture


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      Case 4:23-cr-00035-M-RN Document 64 Filed 04/25/24 Page 3 of 7
cases, as provided in Rule G(4) of the Supplemental Rules for Admiralty or Maritime

Claims and Asset Forfeiture Actions. The United States shall then file a Notice with

the Court documenting for the record: (1) proof of publication, or the govern~ent's

reliance on an exception to the publication requirement found in Supplemental Rule

G(4)(a)(i); and (2) the government's efforts to send direct notice to all known potential

third-party claimants in accordance with Supplemental Rule G(4)(b)(iii), or a

representation that no other potential claimants are known to the government. This

Order shall not take effect as the Court's Final Order of Forfeiture until an

appropriate Notice has been filed and the time in which any third parties with notice

of the forfeiture are permitted by law to file a petition has expired.

      4.     Any person other than the above-named defendant, having or

claiming any legal interest in the subject property must, within 30 days of

the final publication of notice or of receipt of actual notice, whichever is

earlier, petition the Court to adjudicate the validity of the asserted interest

pursuant to Fed. R. Crim. P. 32.2(c)(l) and 21 U.S.C. § 853(n)(2). The petition

must be signed by the petitioner under penalty of perjury and shall set

forth: the nature and extent of the petitioner's right, title, or interest in the

subject property; the time and circumstances of the petitioner's acquisition

of the right, title, or interest in the property; any additional facts supporting

the petitioner's claim; and the relief sought. The petition may be hand-

delivered to the Clerk at any federal courthouse within the Eastern District

of North Carolina or mailed to the following address:


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      Case 4:23-cr-00035-M-RN Document 64 Filed 04/25/24 Page 4 of 7
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                                U.S. District Court Clerk
                              . Eastern District of North Carolina
                                P.O. Box 25670
                                Raleigh, NC 27611

          5.     The United States shall serve this Order on all counsel of record for any

    co-defendant in this criminal matter.      Such service shall constitute notice of the

    forfeiture to each co-defendant who has appeared in this case within the purview of

    Supplemental Rule G(4)(b)(iii)(B). Any co-defendant who desires to preserve

    his/her right to contest the forfeiture of any of the property identified

    herein must, no later than 30 days after entry of this Order, file a valid

    petition pursuant to 21 U.S.C. § 853(n) and/or other appropriate objection as

    to why the forfeiture should not become final. If no such filing is docketed

    within the allotted time, each non-objecting co-defendant shall be deemed to have

    waived any right to contest the forfeiture, this Order shall become a Final Order of

    Forfeiture as to the property without a separate Preliminary Order of Forfeiture

    being entered as to that co-defendant or incorporated into that co-defendant's

    criminal judgment; and the rights of that co-defendant in the subject property, if any,

    shall be extinguished.

          6.     If one or more timely petitions are received by the Court, the Court will

    enter a separate scheduling order governing the conduct of any forfeiture ancillary

    proceedings under Fed. R. Crim. P. 32.2(c). Following the Court's disposition of all

    timely filed petitions, a Final Order of Forfeiture that amends this Order as necessary

    to account for any third-party rights shall be entered pursuant to Fed. R. Crim. P.

    32.2(c)(2) and 21 U.S.C. § 853(n)(6). The receipt of a petition as to one or more specific
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          Case 4:23-cr-00035-M-RN Document 64 Filed 04/25/24 Page 5 of 7
items of property shall not delay this Order of Forfeiture from becoming final, in

accordance with the following paragraph, as to any remaining property to which no

petition has been filed.

       7.    If no third party files a timely petition, or if this Court denies and/or

dismisses all third party petitions timely filed, this Order shall become the Final

Order of Forfeiture, as provided by Fed. R. Crim. P. 32.2(c)(2), and the United States

shall dispose of the property according to law, including without .limitation

liquidation by sale or any other commercially feasible means, destruction, and/or

retention or transfer of an asset for official use. The United States shall have clear

title to the property and may warrant good title to any subsequent purchaser or

transferee pursuant to 21 U.S.C. § 853(n)(7). If any firearm or ammunition subject

to this Order is in the physical custody of a state or local law enforcement agency at

the time this Order is entered, the custodial agency is authorized to dispose of the

forfeited property by destruction or incapacitation in accordance with its regulations,

when no longer needed as evidence.

      8.     Upon sentencing and issuance of the Judgment and Commitment Order,

the Clerk of Court is DIRECTED to incorporate a reference to this Order of Forfeiture

in the applicable section of the Judgment, as required by Fed. R. Crim. P.

32.2(b)(4)(B). In accordance with Fed. R. Crim. P. 32.2(b)(4)(A), with the defendant's

consent, this Order shall be final as to the defendant upon entry.

      9.     The Court shall retain jurisdiction to enforce this Order, and to amend

it as necessary, pursuant to Fed. R. Crim. P. 32.2(e).


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      Case 4:23-cr-00035-M-RN Document 64 Filed 04/25/24 Page 6 of 7
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                          SO ORDERED, this the 'V°"~y of _ _,4p_,-r_i_{_ _ ___,. 2024.




                                                 r;JJ.,,,J L rVl.,~.s ~
                                                   RICHARD E. MYERS II
                                                   CHIEF UNITED STATES DISTRICT JUDGE


                     WE ASK FOR THIS:


                     MICHAEL F. EASLEY. JR.
                     United States Attorney



                     BY:~
                        Le~~
                     Assistant United States Attorney
                                                          c~.Edward~~
                                                             Attorney for the Defendant
                     Criminal Division




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                          Case 4:23-cr-00035-M-RN Document 64 Filed 04/25/24 Page 7 of 7
